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HONORABLE BENJAMIN H. SETTLE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

JOHN JONES, III, ) No. CV10-5480 BHS
Plaintiff, } ERRATA REGARDING BNSF
RAILWAY COMPANY’S RESPONSE
VS. TO PLAINTIFF’S MOTION TO QUASH
SUBPOENA, FOR A PROTECTIVE
BNSF RAILWAY COMPANY, a ORDER AND FEES AND COSTS
Delaware Corporation, )
NOTED ON MOTION CALENDAR:
Defendant. September 2, 2011
)
)

 

BNSF Railway Company’s Response to Plaintiff's Motion to Quash Subpoena,
For a Protective Order and Fees and Costs, filed yesterday, August 31, 2011 was
accidentally filed as an incomplete document because two citations on page 11 were
incomplete. The corrected page, which includes the two supplemented citations
(footnotes 48 and 49) is attached hereto. BNSF requests that the page be substituted
into its original response brief. Defendant BNSF has made no changes to its response
brief aside from supplementing footnotes 48 and 49. BNSF apologizes for any

confusion.

DATED this 1* day of September, 2011.

MONTGOMERY SCARP, PLLC

s/ Kelsey Endres
Kelsey E. Endres, WSBA No. 39409
Attorney for BNSF Railway Company

MONTGOMERY SCARP, PLLC
1218 Third Avenue, Suite 2700
Seattle, Washington 98101
ERRATA RE BNSF’S RESPONSE BRIEF - 1 Telephone (206) 625-1801

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CERTIFICATE OF SERVICE

Lam over the age of 18; and not a party to this action. I am the assistant to an attorney with
Montgomery Scarp, PLLC, whose address is 1218 Third Avenue, Suite 2700, Seattle, Washington, 98101.

I hereby certify that a true and complete copy of ERRATA REGARDING BNSF RAILWAY
COMPANY’S RESPONSE TO PLAINTIFF’S MOTION TO QUASH SUBPOENA, FOR A PROTECTIVE
ORDER AND FEES AND COSTS has been filed with the U.S. District Court via the ECF system which gives
automatic notification to the following interested parties:

Patrick M. Risken

Scott A. Flage

Evans, Craven & Lackie, P.S.
818 W. Riverside Ave., Suite 250
Spokane, WA 99201

Tel: (509) 455-5200

I declare under penalty under the laws of the State of Washington that the foregoing information is true
and correct.

DATED this 1* day of September, 2011, at Seattle, Washington.

s/ Chelsea Linsley
Chelsea Linsley

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